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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



 LINDA HOBBS, individually and on behalf of
 all others similarly situated,                     Civil Action No. 1:17-cv-03534

                          Plaintiffs,               Honorable John J. Tharp, Jr.

              v.


  GERBER PRODUCTS CO.,

                          Defendant.



                                     STIPULATION
                             OF DISMISSAL WITH PREJUDICE

               IT IS HEREBY STIPULATED AND AGREED by and between plaintiff Linda

Hobbs and defendant Gerber Products Company that the above-referenced action is hereby

dismissed with prejudice and without costs to any party.


Dated: December 14 , 2018

WEXLER WALLACE LLP

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                                CERTIFICATE OF SERVICE


        I hereby certify that a copy of the foregoing was filed using this Court’s CM/ECF service,

which will send notification of such filing to all counsel of record on this 14th day of December

2018.


                                                             /s/ Edward A. Wallace
                                                             Edward A. Wallace




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